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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 )
CDM SMITH INC.,                                  )
                                                 )
      Plaintiff,                                 )
                                                 )
v.                                               ) Civil Action No. 1:21-cv-10249
                                                 )
ELANGOVAN THEVAR and NEER                        )
TECHNOLOGIES, INC.                               )
                                                 )
      Defendants.                                )
________________________________________________)

                       CORPORATE DISCLOSURE STATEMENT

       Plaintiff CDM Smith Inc. does not have a parent corporation, nor is there any public

corporation that owns 10% or more of CDM Smith Inc.’s stock.



Dated: February 12, 2021                           Respectfully submitted,

                                                   CDM SMITH INC.

                                                   By its attorneys,

                                                   /s/ Seth B. Orkand
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                                 CERTIFICATE OF SERVICE

        I, Seth B. Orkand, certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on February 12,

2021.

                                                      /s/ Seth B. Orkand
                                                      Seth B. Orkand




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